                     Case 18-20067    Doc 13    Filed 08/27/18    Page 1 of 5



                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MARYLAND
                                     Baltimore Division

IN RE:

ANTONIO DONDRE WATTS                                Chapter 7
RAQUEL MONINA WATTS                                 Case No. 18-20067-DER

              Debtors

NATIONSTAR MORTGAGE LLC D/B/A
MR. COOPER

              Movant

v.

ANTONIO DONDRE WATTS
12 NORMAN CREEK CT
ESSEX, MD 21221

RAQUEL MONINA WATTS
12 NORMAN CREEK CT
ESSEX, MD 21221
         (Debtors)

ZVI GUTTMAN
P.O. BOX 32308
BALTIMORE, MD 21282-2308
          (Trustee)

              Respondents

                      MOTION FOR RELIEF FROM AUTOMATIC STAY

         Nationstar Mortgage LLC d/b/a Mr. Cooper (“Movant”) by undersigned counsel,

respectfully moves this Honorable Court to terminate the Automatic Stay as to the real property

located at 4026 Ardley Avenue, Baltimore, MD 21213 (“Property”), and, as grounds therefore,

states as follows:

         1.     This proceeding seeking relief under 11 U.S.C. § 362(d) and 11 U.S.C. §

1301(c)(3) is a contested matter within the meaning of Fed. R. Bankr. P. 4001 and 9014, and this
                  Case 18-20067       Doc 13     Filed 08/27/18     Page 2 of 5



court has jurisdiction over this matter pursuant to 28 U.S.C. § 157. This is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2)(G) and (b)(2)(O). Venue is proper pursuant to 28 U.S.C. §

1409(a).

       2.      On July 31, 2018, the above named Debtors, Antonio Dondre Watts and Raquel

Monina Watts (“Debtors”), filed in this court a Petition under Chapter 7 of the United States

Bankruptcy Code. Zvi Guttman was appointed Chapter 7 trustee.

       3.      On or about June 25, 2009, Antonio D. Watts executed and delivered to

Nationstar Mortgage LLC a Note in the amount of SEVENTY-SIX THOUSAND FOUR

HUNDRED THREE DOLLARS AND NO CENTS ($76,403.00), plus interest at the fixed rate

of 5.75% per annum, to be paid over thirty (30) years.

       4.      The Note was later transferred to Movant and Movant held the Note at the time of

the foreclosure sale.

       5.      To secure the repayment of the sums due under the Note, Antonio D. Watts

executed and delivered to Nationstar Mortgage LLC a Deed of Trust dated June 25, 2009,

encumbering the real property (“Property”) described as:




which has the address of 4026 Ardley Avenue, Baltimore, MD 21213.
                  Case 18-20067        Doc 13     Filed 08/27/18     Page 3 of 5



       6.      That pursuant to 11 U.S.C. § 362(d)(1), upon request of a party in interest, the

court shall grant relief from stay for cause, including lack of adequate protection of an interest in

property of such party in interest.

       7.      That prior to Debtors filing the instant bankruptcy case and pursuant to a default

in the terms of said Deed of Trust, a foreclosure sale was conducted on June 27, 2018.

       8.      At the foreclosure sale, the successful bid was in the amount of $45,000.00.

       9.      JT Homes, LLC was the successful bidder at the aforementioned foreclosure sale.

A copy of the Report of Sale is attached as Exhibit A and incorporated herein.

       10.     That as a result of the foreclosure sale the Deed of Trust was extinguished under

state law.

       11.     That after the foreclosure sale, but prior to Movant being able to record the

Sheriff’s Deed, the Debtors filed this Chapter 7 bankruptcy case.

       12.     The continuation of the Automatic Stay will cause Movant significant prejudice.

       13.     Cause exists to terminate the Automatic Stay to permit Movant to exercise its

non-bankruptcy rights and remedies with respect to the Mortgage pursuant to § 362(d)(1) of the

Bankruptcy Code.

       WHEREFORE, Nationstar Mortgage LLC d/b/a Mr. Cooper prays that this Court issue

an order terminating or modifying the Automatic Stay under 11 U.S.C. § 362, as to the property

located at 4026 Ardley Avenue, Baltimore, MD 21213, and granting the following:

       That the Automatic Stay, as to Nationstar Mortgage LLC d/b/a Mr. Cooper, relative to

the property located at 4026 Ardley Avenue, Baltimore, MD 21213 is hereby lifted.

       That upon entry of this order Nationstar Mortgage LLC d/b/a Mr. Cooper, its successors

and assigns, may pursue its state law remedies, including, but not limited to contacting the
                  Case 18-20067       Doc 13     Filed 08/27/18       Page 4 of 5



Debtors directly to discuss loss mitigation or beginning eviction proceedings at its sole

discretion.

       That the Order be binding and effective despite any conversion of this bankruptcy case to

a case under any other chapter of Title 11 of the United States Code.

       That entry of the order shall be effective immediately upon entry, notwithstanding the

provisions of FRBP 4001(a)(3).

       For such other relief as the Court deems just and equitable.


Date: __August 27, 2018_________

                                              Respectfully submitted,

                                                 /s/ Namrata Loomba
                                              Kathryn Smits, Bar #13912
                                              Namrata Loomba, Bar #20053
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                  Case 18-20067       Doc 13     Filed 08/27/18      Page 5 of 5



                                   CERTIFICATE OF SERVICE

       The undersigned states that on August 27, 2018, copies of the foregoing Motion for
Relief were filed with the Clerk of the Court using the ECF system, which will send notification
of such filing to the following:

Zvi Guttman
P.O. Box 32308
Baltimore, MD 21282-2308
zguttman@gmail.com
Bankruptcy Trustee

David M. Grossman
201 N. Charles Street
Suite 1504
Baltimore, MD 21201
david@davidgrossmanlaw.com
Debtors’ Attorney

and I hereby certify that I have caused to be mailed by first class mail, postage prepaid, copies of
the foregoing Motion for Relief to the following non-ECF participants:

Antonio Dondre Watts
12 Norman Creek Ct
Essex, MD 21221
Debtor

Raquel Monina Watts
12 Norman Creek Ct
Essex, MD 21221
Debtor

                                                /s/ Namrata Loomba
                                              Kathryn Smits, Esquire
                                              Namrata Loomba, Esquire
                                              Sameera Navidi, Esquire
